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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

AGSPRING IDAHO 1, LLC,                                 Case No. 23-10700 (CTG)
                                                       (Jointly Administered)
                          Debtors.



    GLOBAL NOTES AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES
    OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Agspring Idaho 1, LLC and certain of its affiliates, as debtors and debtors in possession in
the above-captioned chapter 11 cases, (the “Debtors”) have each filed their respective Schedules
of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”)
in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The
Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
Statements in accordance with section 521 of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”), Rule 1007 of the Federal Rules of Bankruptcy Procedure, and Rule 1007-1
of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the District of Delaware.

        Kyle Sturgeon has signed each set of the Schedules and Statements. Mr. Sturgeon serves
as the Chief Restructuring Officer of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Sturgeon has necessarily relied upon the efforts, statements, and representations
of various third parties involved in the Debtors’ operations, including personnel from the Debtors’
shared services provider and the Debtors’ other professionals. Mr. Sturgeon has not (and could
not have) personally verified the accuracy of each such statement and representation, including
statements and representations concerning amounts owed to creditors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the
Schedules and Statements as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating,
or delivering the information contained herein. While commercially reasonable efforts have been
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made to provide accurate and complete information herein, inadvertent errors or omissions may
exist. The Debtors and their agents, attorneys, and financial advisors expressly do not undertake
any obligation to update, modify, revise, or re-categorize the information provided herein, or to
notify any third party should the information be updated, modified, revised, or re-categorized,
except as required by applicable law. In no event shall the Debtors or their officers, employees,
agents, or professionals be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their officers, employees, agents, attorneys, or their professionals are advised of the possibility of
such damages.

                          Global Notes and Overview of Methodology

1.      Description of Cases. Information regarding the cases may be found in the Declaration of
        Kyle Sturgeon in support of Petitions. [Docket No. 3]. Mr. Surgeon is the Chief
        Restructuring Officer assisting the Debtors in their immediate goals of preserving their
        remaining assets and effectuating an orderly liquidation. On May 31, 2023, (the “Petition
        Date”), each of the Debtors filed voluntary petitions for relief under chapter 11 of the
        Bankruptcy Code.. On June 2, 2023, an order was entered directing joint administration of
        these chapter 11 cases [Docket No. 8]. Notwithstanding the joint administration of the
        Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
        Statements. The information provided herein, except as otherwise noted, is reported as of
        the Petition Date.

2.      Global Notes Control. These Global Notes pertain to and comprise an integral part of
        each of the Debtors’ Schedules and Statements and should be referenced in connection
        with any review thereof. In the event that the Schedules and Statements conflict with these
        Global Notes, these Global Notes shall control.

3.      Reservations and Limitations. Reasonable efforts have been made to prepare and file
        complete and accurate Schedules and Statements; however, as noted above, inadvertent
        errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
        Schedules and Statements as may be necessary or appropriate. Nothing contained in the
        Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an
        admission of any kind with respect to these chapter 11 cases, including, but not limited to,
        any rights or claims of the Debtors against any third party or issues involving substantive
        consolidation, equitable subordination, or defenses or causes of action arising under the
        provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable
        bankruptcy or non-bankruptcy laws to recover assets or avoid transfers. Any specific
        reservation of rights contained elsewhere in the Global Notes does not limit in any respect
        the general reservation of rights contained in this paragraph.

        a.      No Admission. Nothing contained in the Schedules and Statements is intended or
                should be construed as an admission or stipulation of the validity of any claim
                against the Debtors, any assertion made therein or herein, or a waiver of the
                Debtors’ rights to dispute any claim or assert any cause of action or defense
                against any party.
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        b.      Recharacterization. Notwithstanding that the Debtors have made reasonable
                efforts to correctly characterize, classify, categorize, or designate certain claims,
                assets, executory contracts, unexpired leases, and other items reported in the
                Schedules and Statements, the Debtors nonetheless may have improperly
                characterized, classified, categorized, or designated certain items. The Debtors
                thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
                items reported in the Schedules and Statements at a later time as is necessary and
                appropriate.

        c.      Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                “executory” or “unexpired” does not constitute an admission by the Debtors of the
                legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                rights to recharacterize or reclassify such claim or contract.

        d.      Claims Description. Any failure to designate a claim on a given Debtor’s
                Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                constitute an admission by the Debtor that such amount is not “disputed,”
                “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
                offsets or defenses to, any claim reflected on their respective Schedules and
                Statements on any grounds, including, without limitation, liability or
                classification, or to otherwise subsequently designate such claims as “disputed,”
                “contingent,” or “unliquidated” or object to the extent, validity, enforceability,
                priority, or avoidability of any claim. Moreover, listing a claim does not constitute
                an admission of liability by the Debtor against which the claim is listed or by any
                of the Debtors. The Debtors reserve all rights to amend their Schedules and
                Statements as necessary and appropriate, including, but not limited to, with
                respect to claim description and designation.

        e.      Estimates and Assumptions. The preparation of the Schedules and Statements
                required the Debtors to make reasonable estimates and assumptions with respect
                to the reported amounts of assets and liabilities, the amount of contingent assets
                and contingent liabilities on the Petition Date, and the reported amounts of
                revenues and expenses during the applicable reporting periods. Actual results
                could differ from such estimates.

        f.      Intellectual Property Rights. Exclusion of certain intellectual property should not
                be construed to be an admission that such intellectual property rights have been
                abandoned, have been terminated or otherwise expired by their terms, or have been
                assigned or otherwise transferred pursuant to a sale, acquisition, or other
                transaction. Conversely, inclusion of certain intellectual property should not be
                construed to be an admission that such intellectual property rights have not been
                abandoned, have not been terminated or otherwise expired by their terms, or have
                not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                transaction.

        g.      Insiders. The listing of a party as an insider for purposes of the Schedules and
                Statements is not intended to be, nor should it be, construed as an admission of any
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                fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
                expressly reserved. Information regarding the individuals listed as insiders in the
                Schedules and Statements has been included for informational purposes only and
                such information may not be used for the purposes of determining control of the
                Debtors, the extent to which any individual exercised management responsibilities
                or functions, corporate decision-making authority over the Debtors, or whether such
                individual could successfully argue that he or she is not an insider under applicable
                law, including the Bankruptcy Code and federal securities laws, or with respect to
                any theories of liability or any other purpose.

                In the circumstance where the Schedules and Statements require information
                regarding “insiders”, the Debtors have included information with respect to the
                individuals or entities who the Debtors believe are included in the definition of
                “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
                time periods.

4.      Methodology.

        a.      Basis of Presentation. The Schedules and Statements do not purport to represent
                financial statements prepared in accordance with Generally Accepted Accounting
                Principles in the United States (“GAAP”), nor are they intended to be fully
                reconciled to the financial statements of each Debtor. The Schedules and
                Statements contain unaudited information that is subject to further review and
                potential adjustment. The Schedules and Statements reflect the Debtors’ reasonable
                efforts to report the assets and liabilities of each Debtor on an unconsolidated basis
                except as noted on the applicable Schedules/Statements or herein.

        c.      Net Book Value. In certain instances, current market valuations for individual
                items of property and other assets are neither maintained by, nor readily available
                to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                and Statements reflect estimates of net book values as of the Petition Date. Market
                values may vary, at some times materially, from net book values. It would be
                prohibitively expensive, unduly burdensome, and an inefficient use of estate assets
                for the Debtors to obtain the current market values of all their property.
                Accordingly, the Debtors have indicated in the Schedules and Statements that the
                values of certain assets and liabilities are undetermined. Amounts ultimately
                realized may vary materially from net book value (or whatever value was
                ascribed). Accordingly, the Debtors reserve all rights to amend, supplement, or
                adjust the asset values set forth herein. Also, assets that have been fully
                depreciated or that were expensed for accounting purposes either do not appear in
                these Schedules and Statements or are listed with a zero-dollar value, as such
                assets have no net book value. Property and Equipment. Unless otherwise
                indicated, owned property and equipment are valued at net book value, net of
                accumulated depreciation and other adjustments.

        d.      Undetermined Amounts. The description of an amount as “unknown” is not
                intended to reflect upon the materiality of such amount.

        e.      Unliquidated Amounts. Amounts that could not be fairly quantified by the
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                Debtors are scheduled as “unliquidated” or “unknown.”

        f.      Totals. All totals that are included in the Schedules and Statements represent totals
                of all known amounts. To the extent there are unknown or undetermined amounts,
                the actual total may be different than the listed total.

        g.      Intercompany claims. The listing of any amounts with respect to intercompany
                receivables and payables is not, and should not be construed as, an admission of
                the characterization of such balances as debt, equity, or otherwise.

        h.      Guarantees and Other Secondary Liability Claims. The Debtors have exercised
                reasonable efforts to locate and identify guarantees in their executory contracts,
                unexpired leases, secured financings, and other such agreements. Where guarantees
                have been identified, they have been included in the relevant Schedule G with
                respect to leases and Schedule D with respect to credit agreements for the affected
                Debtor or Debtors and are reflected in Schedule H. The Debtors reserve their rights
                to amend the Schedules and Statements if additional guarantees are identified.

        i.      Liens. The property and equipment listed in the Schedules and Statements are
                presented without consideration of any liens.

        j.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

5.      Specific Schedules Disclosures.

        a.      Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                in Incorporated and Unincorporated Businesses, including any Interest in an
                LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                fact that the fair market value of such ownership is dependent on numerous
                variables and factors, and may differ significantly from their net book value.

        b.      Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                Collectibles. Dollar amounts are presented net of accumulated depreciation and
                other adjustments.

        d.      Schedule A/B, Part 9 – Real Property. The Debtors do not own any real
                property. Schedule D - Creditors Who Have Claims Secured by Property.
                Although the Debtors have scheduled claims of various creditors as secured
                claims, the Debtors reserve all rights to dispute or challenge the secured nature of
                any such creditor’s claim or the characterization of the structure of any such
                transaction or any document or instrument related to such creditor’s claim. The
                Debtors further reserve their rights to dispute or challenge the validity, perfection,
                or immunity from avoidance of any lien purported to be granted or perfected in
                any specific asset to a secured creditor listed on Schedule D.

                The descriptions provided in Schedule D are intended only to be a summary.
                Reference to the applicable agreements and other related relevant documents is
                necessary for a complete description of the collateral and the nature, extent, and
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                priority of any liens.

        e.      Schedule E/F - Creditors Who Have Unsecured Claims.

                Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified in
                Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
                Debtors made a reasonable attempt to set forth their unsecured obligations,
                although the actual amount of claims against the Debtors may vary from those
                liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
                the correct amount of any unsecured creditor’s allowed claims or the correct
                amount of all unsecured claims.

                Schedule E/F, Part 2 reflects liabilities based on the Debtors’ books and records.

                Schedule E/F, Part 2, contains information regarding threatened or pending
                litigation involving the Debtors. The amounts for these potential claims are listed
                as “unknown” and are marked as contingent, unliquidated, and disputed in the
                Schedules and Statements.

                Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties to
                executory contracts and unexpired leases. Such prepetition amounts, however, may
                be paid in connection with the assumption or assumption and assignment of an
                executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does not
                include claims that may arise in connection with the rejection of any executory
                contracts and unexpired leases, if any, that may be or have been rejected.

        f.      Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
                omissions may have occurred. Listing a contract or agreement on Schedule G does
                not constitute an admission that such contract or agreement is an executory contract
                or unexpired lease or that such contract or agreement was in effect on the Petition
                Date or is valid or enforceable. The Debtors hereby reserve allof their rights to
                dispute the validity, status, or enforceability of any contracts, agreements, or leases
                set forth in Schedule G and to amend or supplement such Schedule as necessary.
                Certain of the leases and contracts listed on Schedule G may contain renewal
                options, guarantees of payment, indemnifications, options to purchase, rights of
                first refusal, and other miscellaneous rights. Such rights, powers, duties, and
                obligations are not set forth separately on Schedule G. In addition, the Debtors may
                have entered into various other types of agreements in the ordinary course of their
                business, such as supplemental agreements, amendments, and letter agreement,
                which documents may not be set forth in Schedule G.

                The Debtors reserve all rights to dispute or challenge the characterization of any
                transaction or any document or instrument related to a creditor’s claim.

                The listing of any contract on Schedule G does not constitute an admission by the
                Debtors as to the validity of any such contract. The Debtors reserve the right to
                dispute the effectiveness of any such contract listed on Schedule G or to amend
                Schedule G at any time to remove any contract.
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                Omission of a contract or agreement from Schedule G does not constitute an
                admission that such omitted contract or agreement is not an executory contract or
                unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                any such omitted contracts or agreements are not impaired by the omission.
                Certain Debtors are guarantors and parties to guaranty agreements regarding the
                Debtors’ prepetition credit facility. The guaranty obligations arising under these
                agreements are reflected on Schedule H only.

6.      Specific Statements Disclosures.

        a.      Statements, Part 13, Question 25 – Other businesses in which the debtor has
                or had an interest. The Debtors believe that they have provided a complete list
                disclosing its ownership before the filing of these cases.




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 Fill in this information to identify the case and this filing:


               Agspring Idaho 1, LLC
 Debtor Name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):     23-10700
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         x    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         x    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         x    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         x    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         x    Schedule H: Codebtors (Official Form 206H)

         
         x    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     06/30/2023
        Executed on ______________                               /s/ Kyle Sturgeon
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Kyle Sturgeon
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

                   Agspring Idaho 1, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _
                                                                                                                                                            23-10700

                                                                                 DE
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):                  23-10700
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                       0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                 354,497.38
                                                                                                                                                                                                $ ___________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                    354,497.38
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   74,033,912.39
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                         0.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +         8,390.20
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                    74,042,302.59
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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  Fill in this information to identify the case:

  Debtor name    Agspring Idaho 1, LLC

  United States Bankruptcy Court for the:                          District of     DE
                                                                                 (State)
  Case number (If known):             23-10700                                                                                                Check if this is an
                                                                                                                                              amended filing



Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                          12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of debtor’s
                                                                                                                                      interest
2. Cash on hand                                                                                                                   $

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
   3.1. Bank of America                                         Operating Account                        2572                     $          268,014.27
   3.2. Bank of America                                          Cash Collateral                         0357                     $          86,483.11

4. Other cash equivalents (Identify all)
   4.1.                                                                                                                           $
   4.2.                                                                                                                           $


5. Total of Part 1                                                                                                                    $          354,497.38
    Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.

                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit
   7.1.                                                                                                                               $
   7.2.                                                                                                                               $

  Official Form 206A/B                                     Schedule A/B: Assets — Real and Personal Property                                           page 1
                                                                                                                                          American LegalNet, Inc.
                                                                                                                                          www.FormsWorkFlow.com
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Debtor           Agspring Idaho 1, LLC                                                              Case number (if known)   23-10700
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.                                                                                                                                 $
   8.2.                                                                                                                                 $

9. Total of Part 2.
                                                                                                                                        $
   Add lines 7 through 8. Copy the total to line 81.



Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?
           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                            Current value of debtor’s
                                                                                                                                            interest
11. Accounts receivable

    11a. 90 days old or less:                                   _                                        = .......                     $
                                    face amount                     doubtful or uncollectible accounts

    11b. Over 90 days old:                                      _                                        = .......                     $
                                    face amount                     doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                     $
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments

13. Does the debtor own any investments?
           No. Go to Part 5.
           Yes. Fill in the information below.
                                                                                                            Valuation method                Current value of debtor’s
                                                                                                            used for current value          interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1.                                                                                                                                $
   14.2.                                                                                                                                $




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                    % of ownership:
   15.1. Agspring       Idaho 2, LLC                                                            %                                       $
   15.2.                                                                                        %                                       $


16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:
   16.1.                                                                                                                                $
   16.2.                                                                                                                                $



17. Total of Part 4                                                                                                                     $
    Add lines 14 through 16. Copy the total to line 83.

Official Form 206A/B                                       Schedule A/B: Assets — Real and Personal Property                                               page 2
                                                                                                                                              American LegalNet, Inc.
                                                                                                                                              www.FormsWorkFlow.com
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Debtor           Agspring Idaho 1, LLC                                                        Case number (if known)   23-10700
                 Name




Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
          No. Go to Part 6.
          Yes. Fill in the information below.

     General description                            Date of the last      Net book value of         Valuation method used             Current value of
                                                    physical inventory    debtor's interest         for current value                 debtor’s interest
                                                                          (Where available)
19. Raw materials
                                                                          $                                                       $
                                                    MM / DD / YYYY

20. Work in progress
                                                                          $                                                       $
                                                    MM / DD / YYYY

21. Finished goods, including goods held for resale
                                                                          $                                                       $
                                                    MM / DD / YYYY

22. Other inventory or supplies
                                                                          $                                                       $
                                                    MM / DD / YYYY


23. Total of Part 5                                                                                                               $
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
          No
           Yes. Book value                       Valuation method                         Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
        No
          Yes

Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
          No. Go to Part 7.

          Yes. Fill in the information below.

     General description                                                  Net book value of         Valuation method used             Current value of debtor’s
                                                                          debtor's interest         for current value                 interest
                                                                          (Where available)
28. Crops—either planted or harvested
                                                                              $                                                   $

29. Farm animals Examples: Livestock, poultry, farm-raised fish

                                                                              $                                                   $

30. Farm machinery and equipment (Other than titled motor vehicles)

                                                                              $                                                   $

31. Farm and fishing supplies, chemicals, and feed
                                                                        $                                                         $
32. Other farming and fishing-related property not already listed in Part 6
                                                                        $                                                         $
Official Form 206A/B                                      Schedule A/B: Assets — Real and Personal Property                                         page 3
                                                                                                                                       American LegalNet, Inc.
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                                Case 23-10699-CTG                  Doc 30          Filed 06/30/23           Page 13 of 24
Debtor          Agspring Idaho 1, LLC                                                         Case number (if known)   23-10700
                 Name




33. Total of Part 6.                                                                                                              $
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
          No
          Yes. Is any of the debtor’s property stored at the cooperative?

                No
                Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
          No
          Yes. Book value $                     Valuation method                      Current value $

36. Is a depreciation schedule available for any of the property listed in Part 6?

          No
          Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
          No
          Yes



Part 7:     Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes. Fill in the information below.


   General description                                                        Net book value of         Valuation method          Current value of debtor’s
                                                                              debtor's interest         used for current value    interest
                                                                              (Where available)

39. Office furniture

                                                                              $                                                   $

40. Office fixtures

                                                                              $                                                   $

41. Office equipment, including all computer equipment and
    communication systems equipment and software
                                                                              $                                                   $

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1                                                                        $                                                  $
   42.2                                                                        $                                                  $
   42.3                                                                        $                                                  $

43. Total of Part 7.
                                                                                                                                  $
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

          No
          Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes
Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                      page 4
                                                                                                                                      American LegalNet, Inc.
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                                Case 23-10699-CTG                Doc 30          Filed 06/30/23         Page 14 of 24
Debtor           Agspring Idaho 1, LLC                                                     Case number (if known)   23-10700
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Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
          No. Go to Part 9.
          Yes. Fill in the information below.


   General description                                                     Net book value of        Valuation method used      Current value of
                                                                           debtor's interest        for current value          debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1                                                                    $                                                   $

   47.2                                                                    $                                                   $
   47.3                                                                    $                                                   $

   47.4                                                                    $                                                   $


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1                                                                    $                                                   $

   48.2                                                                    $                                                   $

49. Aircraft and accessories

   49.1                                                                    $                                                   $
   49.2                                                                    $                                                   $

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

                                                                           $                                                   $


51. Total of Part 8.                                                                                                           $
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
           Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
        No
           Yes




Official Form 206A/B                                      Schedule A/B: Assets — Real and Personal Property                                     page 5
                                                                                                                                   American LegalNet, Inc.
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                                Case 23-10699-CTG                      Doc 30          Filed 06/30/23          Page 15 of 24
 Debtor           Agspring Idaho 1, LLC                                                          Case number (if known)   23-10700
                  Name




Part 9:      Real property

54. Does the debtor own or lease any real property?
          No. Go to Part 10.
          Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

     Description and location of property                   Nature and extent      Net book value of      Valuation method used      Current value of
     Include street address or other description such as    of debtor’s interest   debtor's interest      for current value          debtor’s interest
     Assessor Parcel Number (APN), and type of property     in property            (Where available)
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.
     55.1                                                                          $                                                 $

     55.2                                                                          $                                                 $

     55.3                                                                          $                                                 $

     55.4                                                                          $                                                 $

     55.5                                                                          $                                                 $

     55.6                                                                          $                                                 $


56. Total of Part 9.
                                                                                                                                     $
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
            Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
          No. Go to Part 11.
          Yes. Fill in the information below.

      General description                                                          Net book value of      Valuation method           Current value of
                                                                                   debtor's interest      used for current value     debtor’s interest
                                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets
                                                                                   $                                                 $
61. Internet domain names and websites
                                                                                   $                                                 $
62. Licenses, franchises, and royalties
                                                                                   $                                                 $

63. Customer lists, mailing lists, or other compilations
                                                                                   $                                                 $
64. Other intangibles, or intellectual property
                                                                                   $                                                 $
65. Goodwill
                                                                                   $                                                 $

66. Total of Part 10.
                                                                                                                                         $
    Add lines 60 through 65. Copy the total to line 89.


Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                 page 6
                                                                                                                                     American LegalNet, Inc.
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                                  Case 23-10699-CTG               Doc 30         Filed 06/30/23              Page 16 of 24
Debtor         Agspring Idaho 1, LLC                                                            Case number (if known)   23-10700
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                                        –                                      =   $
                                                                    Total face amount       doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

                                                                                                           Tax year                 $
                                                                                                           Tax year                 $
                                                                                                           Tax year                 $

73. Interests in insurance policies or annuities
                                                                                                                                    $

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
                                                                                                                                    $
    Nature of claim
    Amount requested                  $

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
                                                                                                                                    $
    Nature of claim
    Amount requested                  $

76. Trusts, equitable or future interests in property

                                                                                                                                        $
77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
                                                                                                                                    $
                                                                                                                                    $

78. Total of Part 11.
                                                                                                                                    $
    Add lines 71 through 77. Copy the total to line 90
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
           Yes
 Official Form 206A/B                                 Schedule A/B: Assets — Real and Personal Property                                              page 7
                                                                                                                                        American LegalNet, Inc.
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Debtor           Agspring Idaho 1, LLC                                                                                 Case number (if known)   23-10700
                  Name




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                            Current value
                                                                                                    personal property                           of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                $      354,497.38

81. Deposits and prepayments. Copy line 9, Part 2.                                                    $           0.00

82. Accounts receivable. Copy line 12, Part 3.                                                        $           0.00

83. Investments. Copy line 17, Part 4.                                                                $           0.00

84. Inventory. Copy line 23, Part 5.                                                                  $           0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                         $           0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                      $           0.00
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $           0.00

88. Real property. Copy line 56, Part 9 .....................................................................................              $         0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $           0.00

90. All other assets. Copy line 78, Part 11.                                                      + $             0.00

91. Total. Add lines 80 through 90 for each column. ............................91a.                   $ 354,497.38               + 91b.    $         0.00




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92..............................................................................................        $    354,497.38




Official Form 206A/B                                                      Schedule A/B: Assets — Real and Personal Property                                                     page 8

                                                                                                                                                                   American LegalNet, Inc.
                                                                                                                                                                   www.FormsWorkFlow.com
                                         Case 23-10699-CTG                       Doc 30               Filed 06/30/23        Page 18 of 24
  Fill in this information to identify the case:

  Debtor name     Agspring Idaho 1, LLC
  United States Bankruptcy Court for the:                                     District of         DE
                                                                                            (State)

  Case number (If known):                 23-10700                                                                                                          Check if this is an
                                                                                                                                                            amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15
  Be as complete and accurate as possible.

 1.    Do any creditors have claims secured by debtor’s property?
          No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.

  Part 1:        List Creditors Who Have Secured Claims
                                                                                                                                  Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
      secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim

2.1   Creditor’s name                                             Describe debtor’s property that is subject to a lien
       LVS II SPE XVIII LLC
       HVS V LLC                                                  All Property of the Debtor                                      $   74,033,912.39        $        0.00
       Creditor’s mailing address
       214 N. Tryon Street, 27th Floor
       Charlotte, NC 28202                                        Describe the lien
                                                                   UCC-1
       Creditor’s email address, if known                         Is the creditor an insider or related party?
        james.hanley1@usbank.com                                      No
                                                                      Yes
       Date debt was incurred        12/14/2015                   Is anyone else liable on this claim?
                                                                      No
       Last 4 digits of account
       number                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H).

       Do multiple creditors have an interest in the              As of the petition filing date, the claim is:
       same property?                                             Check all that apply.
           No                                                         Contingent
           Yes. Specify each creditor, including this creditor,       Unliquidated
              and its relative priority.
                                                                      Disputed
                LVS II SPE XVIII LLC
                HVS V LLC
2.2   Creditor’s name                                             Describe debtor’s property that is subject to a lien
                                                                                                                                  $                        $
       Creditor’s mailing address


                                                                  Describe the lien

       Creditor’s email address, if known                         Is the creditor an insider or related party?
                                                                      No
       Date debt was incurred                                         Yes
       Last 4 digits of account                                   Is anyone else liable on this claim?
       number                                                         No
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
       Do multiple creditors have an interest in the
                                                                  As of the petition filing date, the claim is:
       same property?
                                                                  Check all that apply.
           No                                                        Contingent
           Yes. Have you already specified the relative              Unliquidated
              priority?
                                                                     Disputed
              No. Specify each creditor, including this
                  creditor, and its relative priority.



                Yes. The relative priority of creditors is
                    specified on lines
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      $
       Page, if any.                                                                                                                                       page 1 of 3
                                                                                                                                                        American LegalNet, Inc.
                                                                                                                                                        www.FormsWorkFlow.com
      Official Form 206D                             Schedule D: Creditors Who Have Claims Secured by Property
                                 Case 23-10699-CTG                   Doc 30              Filed 06/30/23         Page 19 of 24
    Fill in this information to identify the case:

   Debtor           Agspring Idaho 1, LLC
   United States Bankruptcy Court for the:                             District of   DE
                                                                                     (State)
   Case number       23-10700
    (If known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                  12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
         No. Go to Part 2.
         Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                               Total claim        Priority amount
2.1 Priority creditor’s name and mailing address             As of the petition filing date, the claim is: $                     $
                                                             Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
     Date or dates debt was incurred                         Basis for the claim:


    Last 4 digits of account
                                                             Is the claim subject to offset?
     number                                                       No
    Specify Code subsection of PRIORITY unsecured                Yes
    claim: 11 U.S.C. § 507(a) (    )

2.2 Priority creditor’s name and mailing address             As of the petition filing date, the claim is: $                     $
                                                             Check all that apply.
                                                                Contingent
                                                                 Unliquidated
                                                                 Disputed
     Date or dates debt was incurred                         Basis for the claim:


    Last 4 digits of account
                                                             Is the claim subject to offset?
     number                                                       No
    Specify Code subsection of PRIORITY unsecured                Yes
    claim: 11 U.S.C. § 507(a) (    )

2.3 Priority creditor’s name and mailing address             As of the petition filing date, the claim is: $                     $
                                                             Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
     Date or dates debt was incurred                         Basis for the claim:


    Last 4 digits of account
                                                             Is the claim subject to offset?
     number
                                                                  No
    Specify Code subsection of PRIORITY unsecured                Yes
    claim: 11 U.S.C. § 507(a) (    )
                                                                                                                                         page 1 of   4
                                                                                                                                American LegalNet, Inc.
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  Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims
                                    Case 23-10699-CTG
                  Agspring Idaho 1, LLC
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     Debtor                                                                                       Case number (if known) 23-10700
                   Name



 Part 1.       Additional Page


     Copy this page if more space is needed. Continue numbering the lines sequentially from the
     previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim          Priority amount



2.       Priority creditor’s name and mailing address                                                      $                        $
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account
                                                           Is the claim subject to offset?
         number                                                 No
         Specify Code subsection of PRIORITY unsecured          Yes
         claim: 11 U.S.C. § 507(a) (    )


2.       Priority creditor’s name and mailing address                                                      $                        $
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account
                                                           Is the claim subject to offset?
         number                                                 No
         Specify Code subsection of PRIORITY unsecured          Yes
         claim: 11 U.S.C. § 507(a) (    )

2.       Priority creditor’s name and mailing address                                                      $                        $
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account                          Is the claim subject to offset?
         number                                                 No
         Specify Code subsection of PRIORITY unsecured          Yes
         claim: 11 U.S.C. § 507(a) (    )

2.       Priority creditor’s name and mailing address                                                      $                        $
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account
                                                           Is the claim subject to offset?
         number                                                 No
         Specify Code subsection of PRIORITY unsecured
                                                                Yes
         claim: 11 U.S.C. § 507(a) (    )
                                                                                                                                        page 2 of   4
                                                                                                                                    American LegalNet, Inc.
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       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims
                                Case 23-10699-CTG
                 Agspring Idaho 1, LLC
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  Debtor                                                                                              Case number (if known) 23-10700
                 Name


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
      unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                  Amount of claim

3.1   Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    $              2,100.00
       Business Wire                                                         Check all that apply.
                                                                                 Contingent
       P.O. Box 884182                                                           Unliquidated
                                                                                 Disputed
       Los Angeles, CA 90088
                                                                             Basis for the claim:    Trade
      Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                                 No
      Last 4 digits of account number
                                                                                 Yes

3.2
      Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    $               145.52
       ConvergeOne                                                           Check all that apply.
                                                                                 Contingent
       5940 Golden Hills Dr.                                                     Unliquidated
                                                                                 Disputed
       Minneapolis, MN 55416
                                                                             Basis for the claim:    Trade
      Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                                 No
      Last 4 digits of account number
                                                                                 Yes
3.3
      Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    $              2,414.24
       Iron Mountain                                                         Check all that apply.
                                                                                 Contingent
       P.O. Box 27128                                                            Unliquidated
       New York, NY 10087                                                        Disputed
                                                                             Basis for the claim:    Trade
      Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                                 No
      Last 4 digits of account number
                                                                                 Yes

3.4
      Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    $              1,100.00
       NetStandard                                                           Check all that apply.
                                                                                 Contingent
       P.O. Box 729                                                              Unliquidated
                                                                                 Disputed
       Wichita, KS 67201
                                                                             Basis for the claim:    Trade
      Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                                 No
      Last 4 digits of account number
                                                                                 Yes
3.5   Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    $               272.00
                                                                             Check all that apply.
       Shred-it/Stericycle
                                                                                 Contingent
       28883 Network Place                                                       Unliquidated
       Chicago, IL 60673I                                                        Disputed
                                                                             Basis for the claim:    Trade
      Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                                 No
      Last 4 digits of account number
                                                                                 Yes
3.6   Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    $              2,358.44
                                                                             Check all that apply.
       Spectrum Business
                                                                                 Contingent
       4145 S Falkenburg Rd                                                      Unliquidated
       Riverview, FL 33578-8652                                                 Disputed
                                                                             Basis for the claim:    Trade
      Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                                 No
      Last 4 digits of account number
                                                                                 Yes
                                                                                                                                             page 3 of   4
                                                                                                                                          American LegalNet, Inc.
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      Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims
          Agspring Idaho 1, LLC
                               Case 23-10699-CTG          Doc 30     Filed 06/30/23        Page 22 of 24
 Debtor                                                                          Case number (if known) 23-10700
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                5a.          $         8,390.20



5b. Total claims from Part 2                                                                5b.    +     $




5c. Total of Parts 1 and 2                                                                  5c           $           8,390.20
    Lines 5a + 5b = 5c.




                                                                                                                     page 4 of 4


                                                                                                                   American LegalNet, Inc.
                                                                                                                   www.FormsWorkFlow.com
   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims
                               Case 23-10699-CTG                    Doc 30              Filed 06/30/23       Page 23 of 24

 Fill in this information to identify the case:

 Debtor name    Agspring Idaho 1, LLC

 United States Bankruptcy Court for the:                            District of         DE
                                                                                  (State)
 Case number (If known):   23-10700                                  Chapter           11


                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                  State the name and mailing address for all other parties with
                                                                                             whom the debtor has an executory contract or unexpired lease


         State what the contract or
                                           Meraki Software License
         lease is for and the nature       Maintainance Solutions                            CovergeOne
 2.1     of the debtor’s interest
                                                                                             5940 Golden Hills Dr.
         State the term remaining                                                            Minneapolis, MN 55416
         List the contract number of       August 4,2023
         any government contract



         State what the contract or                                                          Shred-it/Stericycle
 2.2     lease is for and the nature
         of the debtor’s interest
                                                                                             28883 Network Place
                                                                                             Chicago, IL 60673
         State the term remaining
         List the contract number of
         any government contract

                                           Independent Contractor
         State what the contract or        Agreement May 2, 2022                             Bruce Chapin
         lease is for and the nature
 2.3     of the debtor’s interest                                                            5101 College Boulevard
                                                                                             Leawood, KS 66211
         State the term remaining
                                           Unknown
         List the contract number of
         any government contract


                                           Independent Contractor
         State what the contract or        Agreement May 2, 2022                             Jennifer Mick
         lease is for and the nature
 2.4
         of the debtor’s interest                                                            5101 College Boulevard
                                                                                             Leawood, KS 66211
         State the term remaining
                                           Unknown
         List the contract number of
         any government contract


                                           Independent Contractor
         State what the contract or        Agreement May 2, 2022                             Paul Highstrom
         lease is for and the nature
 2.5     of the debtor’s interest

         State the term remaining
                                           Unknown
         List the contract number of
         any government contract

                                                                                                                                    American LegalNet, Inc.
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Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases
                               Case 23-10699-CTG                  Doc 30                Filed 06/30/23      Page 24 of 24
 Fill in this information to identify the case:

 Debtor name   Agspring Idaho 1, LLC

 United States Bankruptcy Court for the:                            District of         DE
                                                                                  (State)
 Case number (If known):   23-10700


                                                                                                                                           Check if this is an
                                                                                                                                           amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
         Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
    creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
    schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

       Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                           Check all schedules
          Name                        Mailing address                                                  Name
                                                                                                                                           that apply:
                                                                                                         LVS II SPE XVIII
                                                                                                         LLC
 2.1   Agspring, LLC                   5101 College Boulevard                                            HVS LLC                               D
                                       Street                                                                                                  E/F
                                                                                                                                               G
                                       Leawood                  KS                          66211
                                       City                     State                       ZIP Code

        FO-ND, LLC dba                                                                                   LVS II SPE XVIII
        Firebird                                                                                         LLC
 2.2    Artisan Mills, LLC             5101 College Boulevard                                            HVS LLC                               D
                                       Street                                                                                                  E/F
                                                                                                                                               G
                                       Leawood                 KS                   66211
                                       City                     State                       ZIP Code

        Agspring
        Logistics, LLC                                                                                   LVS II SPE XVIII
        dba                                                                                              LLC
 2.3    Agforce                        5101 College Boulevard                                            HVS LLC                               D
                                       Street                                                                                                  E/F
                                                                                                                                               G
                                       Leawood                   KS                 66211
                                       City                     State                       ZIP Code


 2.4                                                                                                                                           D
                                       Street                                                                                                  E/F
                                                                                                                                               G

                                       City                     State                       ZIP Code

 2.5                                                                                                                                           D
                                       Street                                                                                                  E/F
                                                                                                                                               G

                                       City                     State                       ZIP Code


 2.6                                                                                                                                           D
                                       Street                                                                                                  E/F
                                                                                                                                    American LegalNet, Inc.
                                                                                                                                    www.FormsWorkFlow.com
Official Form 206H                                            Schedule H: Codebtors
